Case 8:21-cv-00128-TPB-TGW Document 3-1 Filed 01/19/21 Page 1 of 3 PageID 11




                                UNITED STATES DISTRICT COURT
                                 MIDDLE DISTRICT OF FLORIDA
                                       TAMPA DIVISION


  UNITED STATES OF AMERICA,

             Plaintiff,
   v.                                                        CASE NO.: 08:21-00128-TPB-TGW

  JANE A. COTTRELL,

        Defendant.
  ____________________________________/


                              CONSENT DECREE AND FINAL JUDGMENT

        THIS CAUSE comes before the Court upon the Joint Stipulation to Entry of Consent

Decree and Final Judgment (“Stipulation”) of the Plaintiff, United States of America, (“Plaintiff”)

and Defendant Jane A. Cottrell (“Defendant”) (Plaintiff and Defendant are collectively referred to

as the “Parties”). The Court, having reviewed the Stipulation and finding that Plaintiff brought

this action against Defendant pursuant to the Fraud Injunction Statute, 18 U.S.C. § 1345, alleging

that Defendant was violating or was about to violate 18 U.S.C. §§ 1343 and 1344 by executing a

scheme or artifice to defraud, or for obtaining money or property by means of false or fraudulent

representations with the intent to defraud, using the United States mails and interstate or foreign

wire communications, and finding that Defendant has waived service of the Summons and the

Complaint, and being otherwise fully advised, it is

        HEREBY ADJUDGED, ORDERED, AND DECREED as follows:

        1.         This Court has jurisdiction over this matter and the Parties pursuant to 18 U.S.C.

§ 1345 and 28 U.S.C. §§ 1331 and 1345.               Venue is proper in this District under 28

U.S.C. § 1391(b) and (c).
Case 8:21-cv-00128-TPB-TGW Document 3-1 Filed 01/19/21 Page 2 of 3 PageID 12




       2.        For purposes of this Consent Decree:

                 a.     “Defendant” means Jane A. Cottrell.

                 b.     “Person” means an individual, a corporation, a partnership, or any other

       entity.

                 c.     “Funds” include any currency, check, money order, stored value card,

       stored value card numbers, bank wire transmission, or other monetary value.

                 d.     “Prize promotion fraud” means a plan, program, promotion, or campaign

       that is conducted to mislead a prospective victim or victims to believe that they have won,

       or may or will win or receive, a sweepstakes, contest, lottery, prize, inheritance, money,

       property, or other thing of value, contingent on the victim providing, or providing a means

       of accessing or obtaining, any fee.

                 e.     “Money transmitting business” refers to a person who, for a fee, receives

       funds from one person for the purpose of transmitting the funds, or providing access to the

       funds, to another person.

                 f.     “Fee” refers to a payment or compensation of any kind regardless of how

       the payment or compensation is labeled, including but not limited to processing fees,

       service fees, expediting fees, purchase fees, nominal fees, symbolic payments, gifts and

       gratuities.

       3.        Upon entry of this Decree, Defendant, Defendant’s agents, officers, and employees,

and all other persons and entities in active concert or participation with them are permanently

prohibited and enjoined from, directly or indirectly, assisting, facilitating, or participating in:

                 a. any prize promotion fraud; and

                 b. any money transmitting business.



                                                   2
Case 8:21-cv-00128-TPB-TGW Document 3-1 Filed 01/19/21 Page 3 of 3 PageID 13




       4.      Within ten (10) days after entry of this Consent Decree, the Defendant is ordered

to submit to U.S. Postal Inspector Kristi Parkerson a written acknowledgement of receipt of this

Consent Decree. Defendant shall submit the written acknowledgement to:

            U.S. Postal Inspector Kristi Parkerson
            U.S. Postal Inspection Service
            Tampa Field Office
            5102 W. Laurel St. – Suite 100
            Tampa, FL 33607

       5.      The Consent Decree shall not be modified except in writing by Plaintiff and the

Defendant, and subject to approval by the Court.

       6.      This Consent Decree shall constitute a final judgment and order in this action.

       7.      This Court retains jurisdiction of this action for the purpose of enforcing or

modifying this Consent Decree and for the purpose of granting such additional relief as may be

necessary or appropriate.

       8. The Clerk is directed to close this case.


       DONE AND ORDERED in Chambers at ________________, Florida this _____ day

____________________, 2021.

                                          _________________________________
                                          THOMAS P. BARBER
                                          UNITED STATES DISTRICT JUDGE




                                                3
